          Case 1:19-cv-07738-GBD Document 12 Filed 10/08/19 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------
SHIVA STEIN,                                               :
                                                           :
                  Plaintiff,                               : Civ. No. 19-cv-07738-GBD
                                                           :
v.                                                         :
                                                           :
                                                           :
  TOWER INTERNATIONAL, INC.,                               :
  THOMAS K. BROWN, JAMES                                   :
  CHAPMAN, ALISON DAVIS-BLAKE,                             :
  FRANK E. ENGLISH, JR., JAMES C.                          :
  GOUIN, DEV KAPADIA, MARK                                 :
  MALCOLM, TIGER MERGER SUB, INC.,                         :
  and AUTOKINITON US HOLDINGS, INC.,                       :
,                                                          :
                                                           :
                  Defendants.                              :
--------------------------------------------------------- :



                           NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff hereby voluntarily dismisses her individual claims in the above-captioned

action (the “Action”) with prejudice. Because this notice of dismissal is being filed with the

Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: October 8, 2019                               Respectfully submitted,

                                                     WOLF HALDENSTEIN ADLER
                                                     FREEMAN & HERZ LLP

                                                     /s Gloria Kui Melwani
                                                     Gloria Kui Melwani (GM5661)
                                                     270 Madison Avenue
                                                     New York, New York 10016
                                                     Tel: (212) 545-4600
Case 1:19-cv-07738-GBD Document 12 Filed 10/08/19 Page 2 of 2




                               Fax: (212) 686-0114
                               Email: melwani@whafh.com
                               Attorneys for Plaintiff
